                                                                12/2/2021
                                               Document 1-2 -9:31
                         E-FILED Harford Circuit Louit
                   Case 1:22-cv-00033-RDB                        ,A@ll System System
                                                              Filed  01/06/22 Page     1 of 46
                                                                                   E-FILED- Harford Circuit Court
                    CIRCUIT COURT FOR HARFORD C~A~YI2/2/2021 9:3~r~~~S`$b~s042/2/2021 9:31 AM
                       MARYLAND
   ~+'•'    '~         20 W. Courtland Street
                       Bel Air, Maryland 21014

                 To:   FACEBOOK INC
                       CSC-LAWYERS INCORPORATING SERVICES COMPANY
                       7 ST. PAUL STREET, STE 820
                       BALTIMORE, MD 21202

                                                                    Case Number:                              C-12-CV-21-000726
                                                       Other Reference Number(s):
                                               Child Support Enforcement Number:

TIARA JOHNSON VS. FACEBOOK INC
                                                                                                              Issue Date: 12/2/2021
                                                    WRIT OF SUMMONS

      You are hereby summoned to file a written response by pleading or motion, within 30 days after service of this
summons upon you, in this court, to the attached complaint filed by:

           TIARA N JOHNSON
           4740 WILLINSTON STREET
           BALTIMORE, MD 21229

           This summons is effective for service only if served within 60 days after the date it is issued.




                                                           James Reilly
                                                           Clerk of the Circuit Court


To the person summoned:
    Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
sought against you.
    Personal attendance in court on the day named is NOT required.

Instructions for Service:

    1. This summons is effective for service only if served within 60 days after the date issued. If it is not served within
       the 60 days, the plaintiff must send a written request to have it renewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4. If this notice is served by private process, process server shall file a separate affidavit as required by Maryland
       Rule 2-126(a).




CC-CV-032 (Rev. 11/23/2020)                              Page 1 of 2                                          12/02/2021 9:29 AM
                    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 2 of 46
                                                                                                                Circuit Court for Harford County
TIARA JOIINSON vs. FACEBOOK INC                                                                           Case Number: C-12-CV-21-000726

                                                        SHERIFF'S RETURN
                                                           (please print)

To: FACEBOOK INC

                                                    ID#                                     of the
                 Serving Sheriffs Name

County Sheriff's office present to the court that I:

          (1) Served
                                                                               Name of person served

on                                                      at
                         Date of service                                                             Location of service

                                                        by                                                                    with the following:
                                                                                    Manner of service


                     ❑    Summons                                                        ❑ Counter-Complaint
                     ❑    Complaint                                                      ❑ Domestic Case Information Report
                     ❑    Motions                                                        ❑ Financial Statement
                     ❑    Petition and Show Cause Order                                  ❑ Interrogatories
                     ❑    Other
                                                              Please specify


        (2) Was unable to serve because:
                 ❑ Moved left no forwarding address                  ❑ No such address
                     ❑    Address not in jurisdiction                ❑ Other
                                                                                                                   Please specify



Sheriff fee: $                                                          ❑ waived by



                                                             Date                Signature of serving Sheriff
Instructions to Sheriff's Office or Private Process Server:
     1. This Summons is effective for service only if served within 60 days after the date issued. If it is not served within
         60 days, the plaintiff must send a written request to have it renewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
         If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
    4. If this summons is served by private process, process server shall file a separate affidavit as required by Rule 2-
         126(a).




CC-CV-032 (Rev. 11/23/2020)                                    Page 2 of 2                                                          12/02/2021 9:29 AM
                                         r          t         ,
        Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 3 of 46




 Tiara N. Johnson                                       * In the Circuit Court
  4740 Willinston Street
  Baltimorc, MD 21229                                   * For
                                        Plaintiff
                                                        * Harford County
                                                        *

                                                        *
 Facbook Inc.,
  Serve on:
                                                        * Case No.: C-12-CV-21-000726
  CSC-Latvyers Inc. Scrvicc Co.                         *
  7 St. Paul Street
  Suite 820                                             *
  Baltimore MD 21202
                                                        *
John Doe
                                     Defendant *

                                        COMPLAINT
        Comes Now, Tiara N. Johnson, Plaintiff, by and through her attorneys, Jimi Kolawole, and
Kolawole Law Firm LLC, file this Complaint against Facebook Inc. (now known as Meta Inc.) and in
support thereof state as follows:
   1. Plaintiff is the owner and operator of the verified Instagram Account (@LICKIVIYKAKEZ)
        where Plaintiff is a purveyor of fine adult toys and has gained over 2.8 million followers,
        customers, and clients who regularly patronize her products on Facebook and Instagram.
    2. Defendant, Facebook Inc., is the owner and operator of the app known as Instagram.
        Facebook is a corporation registered to do business in the State of Maryland. It is engaged in
        the business of software development and Instagram is one of its products.
    3. Defendant, John Doe, is a person whose identity is unknown but known to Defendant,
        Facebook Inc. The identification of John Doe will be provided upon information from
        Facebook Inc.
    4. Instagram is a free social networking service built around sharing photos and videos. It
        launched in October 2010 on iPhone first and became available on Android in April 2012.
        Facebook purchased the service in April 2012 and has owned it since.
    5. Like most social media apps, Instagram allows you to follow users that you're interested in.
        This creates a feed on your homepage, showing recent posts from everyone you follow. You
        can like posts, comment on them, and share them with other people.




 COMPLAINT                                   Page 1 of 12                                    Case #.:
                                        t
    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 4 of 46




 6. In addition to posting regular photos and videos, which stay on your page permanently,
    Instagram also supports stories. Stories allow you to post many photos and video clips in a
    series. Anyone can view these for 24 hours, after which they expire.
 7. That's not all the options for video; Instagram offers IGTV and Reels, as well. Reels are a lot
    like what you'll find on TikTok: short video clips that are easier to share and find than stories.
    And IGTV is for longer-form video that you want to keep on your profile.
 8. Aside from all this, Instagram also supports direct messaging so you can chat with friends in
    private. You can also explore profiles to see what else you might have interest in.


                                              Count I
                                      Breach of Contract
 9. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 10. Sometime in 2011, Plaintiff downloaded the Instagram app and created an account on
    Instagram.
 11. Sometime in the year 2011, Plaintiff downloaded the Instagram App. Facebook purchased
    Instagram in February of 2012 and thereafter, Facebook Inc. entered into an agreement with
    Plaintiff to provide Plaintiff an Instagram account for free in exchange for showing Plaintiff
    advertisements and a limited use of PlaintifPs online data and behavior. See Exhibit A
    Instagram Terms of Use.
 12. The terms of the contract require that
        a. Plaintiff is older than 13 years old; Plaintiff must not be prohibited from receiving any
            aspect of Facebook's service under applicable laws or engaging in payments related
            Services; Plaintiff's account has not been previously disabled for violation of low or
            any of Facebook's policies; Plaintiff is not a convicted sex offender; Plaintiff cannot
            impersonate or provide inaccurate information; Plaintiff cannot do anything unlawful,
            misleading, or fraudulent or for an illegal or unauthorized purpose; Plaintiff cannot
            violate (or help or encourage others to violate)these Terms or Facebook's policies
            including in particular the Instagram Community Guidelines, Facebook Platform
            Terms and Developer Policies, and Music Guidelines; See Exhibit A for additional
            requirements.
 13. Under the terms of this Agreement,



COMPLAINT                              Page 2 of 12                                          Case #.:
                                           e      ~       ,
    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 5 of 46




        a. We [Facebook] can remove any content or information you share on the Service if we
               believe that it violates these Terins of Use, our policies (including our Instagram
               Community Guidelines), or we are permitted or required to do so by law.
        b. We [Facebook] can refuse to provide or stop providing all or part of the Service to
               you (including terminating or disabling your access to the Facebook Products and
               Facebook Company Products) immediately to protect our community or services, or
               if you create risk or legal exposure for us, violate these Terms of Use or our policies
               (including our Instagram Community Guidelines), if you repeatedly infringe other
               people's intellectual property rights, or where we are permitted or required to do so by
               law.
        c. We [Facebook] can also terminate or change the Service, remove or block content or
               information shared on our Service, or stop providing all or part of the Service if we
               determine that doing so is reasonably necessary to avoid or mitigate adverse lcgal or
               regulatory impacts on us.
        d. If you believe your account has been terminated in error, or you want to disable or
               permanently delete your account, consult our Help Center.
 14.On or before January 1, 2020, Plaintiff started                 a business     under   the name
    KAKEYTAUGHTME selling adult toys and products. Plaintiff promoted her business on
    Instagram by purchasing Facebook and Instagram advertisement.
 15. Plaintiff is the owner of the trademark KAKEYTAUGHTME with United States Patent &
    Trademark Office Application Number 88694236. See Exhibit B.
 16. Plaintiff's business was a hit with her fans and her Instagram followers grew to 2.8 million
     followers who loved Plaintiff and purchased from her.            Plaintiff was making sales of
    approximately $10,000 per week from the sale of her products. In addition, Plaintiff was
     earning from serving as an ambassador or influencer to promote hair, clothes, and making
    videos inviting her followers to use different products.
 17. On or about July 1, 2021, Facebook disabled Plaintiff's account and interrupted Plaintiff's
    business and her ability to communicate with her over 2.8 million followers, customers, and
    clients.
 18. Facebook has failed to communicate with Plaintiff on why her account was disabled or
    blocked. All efforts to reach Facebook via its Help Center has been abortive. Plaintiff did
     not violate any term of use.

COMPLAINT                                  Page 3 of 12                                       Case #.:
        Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 6 of 46




   19. Following Facebook disabling Plaintiff's account, Plaintiff was informed that a John Doe was
        paid to have her account suspended or "bring her account down" and after Facebook's action,
        John Doe notified others.

    5:1O                                          , :. t1163,   1    5:10                                    ..~,. ^.    lwj'




   <®                                                  lJ,           `®                  0                              .~~
                          10     -                                                 Maybe: Brandon OBN
                  Maybe: Brandon OBN

                                                                     My homie banned you bro but
                     Fri, Jul 9, '7.:7.8 Pth                         he didn't know I was cool with
                                                                     jimmy or nun of that
    So I found out
                                                                     He got paid tho
    Something
                                                                                                              ®
    You where not violations terms
    or nothing of that                                                                                 .     .. ..

    You where banned                                                 Well ima try and bring you
                                                                     back but it isn't fast like that

                                                                                    Sat, Jul 10, 12:06 vtf


    My homie banned you bro but
    he didn't know I was cool with
    jimmy or nun of that

    He got paid tho

                                                                                    Sst, Jul 10, 4'n,E pM
                                                     Wtfff
                                                                     He doesn't do it he uses a
                                        So what~ do i~ do? ~~        inside important agent inside
                                                                     of Instagram but he already
    Well ima try and bring you                                       submitted it bro
    back but it isn't fast like that

                   Sai, Jul 10, 12:c3 PtG




See Exhibit D.
   20. Plaintiff contacted John Doe who informed her that stated that Facebook will not respond to
        Plaintiff's responses. However, John Doe promised that he can get a Facebook Pro to
        reactivate Plaintiff's account for $3000. A desperate Plaintiff paid but much to no surprise,
        John Doe blocked Plaintiff and subsequently disappeared.
   21. Since the suspension of Plaintiff's Instagram account, Facebook has permitted new false and
        imitation accounts that claim to be Plaintiff and violating Plaintiff's trademark. See Exhibit C.



 COMPLAINT                                            Page 4 of 12                                                            Case #.:
    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 7 of 46




 22. Plaintiff has incurred a loss of seventy-five thousand dollars because of the breach by
    Facebook Inc.


    WHEREFORE, Plaintiff, Tiara Johnson, demands judgment against Facebook Inc. in the
 amount of seventy -five thousand dollars plus interest and costs.


                                           Count II
                     Tortious Interference with Contractual Relations.
 23. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 24. On or before July 1, 2020, Plaintiff entered an agreement with Facebook Inc in exchange for
     the use of Facebook's Instagram application. A copy of Instagram's Terms of Use is attached
    and marked as Exhibit A.
 25. Plaintiff operated an Instagram account @LICKMYKAKEZ where she was a purveyor of
     fine adult paraphernalia. Plaintiffs Instagram account was a VERIFIED account with over
    2.8 million followers. Due to Plaintiffls significant followers, Plaintiff enjoyed a substantial
     revenue of about ten thousand dollars per week from the sales of her inventory.
 26. Defendant, John Doe, was aware of Plaintiff's existing contract with Facebook Inc. John Doe
     is an Instagram user, and every user of Instagram is required to enter into an agreement to use
     the app.
 27. On or before July 1, 2021, and without legal justification, John Doe intentionally and
     improperly interfered with Plaintiff's contract with Facebook Inc by relentlessly filing false
     report through his own accounts and other Instagram account under his control with
     Facebook with the intent of getting Facebook to suspend or disable Plaintiff's account. John
     Doe was aware that by filing false report with Facebook, Facebook would suspend or disable
     Plaintiff's account.
 28. Upon information and belief, John Doe was paid by Plaintiffs competitor to bring down
     Plaintiff's account. John Doe confirmed as such in his correspondence with Plaintiff.
 29. Further, John Doe was aware that there is no human intervention when Facebook suspends
     or disable an account and Plaintiff would be unable to reach a human to review the allege false
     fiTings.




COMPLAINT                              Page 5 of 12                                        Case #.:
       Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 8 of 46




   30. As a result of John Doe's false filings, Facebook suspended Plaintiff's account without legal
        justification on July 1, 2021, thereby making Facebook breach its contract with Plaintiff as the
       suspension was without any legal justification.
   31. As a result of John Doe's conduct, Plaintiff has suffered and continues to suffer lost profits
       and other consequential damages.


       WHEREFORE, Plaintiff, Tiara Johnson, demands judgment against John Doe in the amount
of seventy-five thousand dollars plus interest and costs.


                                              Count III
                        Tortious Interference with Prospective Relations.
   32. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
   33. Plaintiff operated an Instagram account @LICKMYKAKEZ where she was a purveyor of
        fine adult paraphernalia. Plaintiff's Instagram account was a verified account with over 2.8
        million followers. Due to Plaintiff's significant followers, Plaintiff enjoyed a substantial
        revenue of about ten thousand dollars per week from the sales of her inventory.
    34. Plaintiff purchased advertisement from Facebook and a majority of Plaintiff's sales were
        through Instagram and Facebook sale applications.
    35. On or about July 1, 2021, Facebook Inc disabled or suspended Plaintiff's Instagram account
       with the intention of ending Plaintiff's account and causing customers to cease dealing with
        Plaintiff. Facebook's action was initiated by John Doe's false report of Plaintiff's activities
        alleging that Plaintiffs postings violated Instagram's terms of use.
    36. By terminating Plaintiff's account without justification, Facebook was informing the public
        that Plaintiff was violating the law or Facebook's terms of use. Facebook failed to provide
        Plaintiff with a reasonable opportunity to respond to the false filings.
    37. The conduct of Facebook was intentional, willful, and calculated to cause damage to Plaintiff's
        lawful business. The conduct of Facebook was perpetrated with the intentional and improper
        purpose of causing damage and was without justifiable cause.
    38. As a result of Facebook's conduct and actions, Plaintiff has suffered and will continue to suffer
        lost profits, other consequential damages, and harm to reputation.




 COMPLAINT                                 Page 6 of 12                                         Case #.:
       Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 9 of 46




       WHEREFORE, Plaintiff, Tiara Johnson, demands judgment against Facebook Inc. in the
amount of seventy-five thousand dollars plus interest and costs.


                                              Count IV
                                Federal Trademark Infringement
   39. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
   40. Plaintiff operated an Instagram account @LICKIVIYKAKEZ where she was a purveyor of
       fine adult paraphernalia. Plaintiffs Instagram account was a VERIFIED account with over
       2.8 million followers. Due to Plaintiff's significant followers, Plaintiff enjoyed a substantial
       revenue of about ten thousand dollars per week from the sales of her inventory.
   41. Plaintiff is the owner of the trademark KAKEYTAUGHTME with United States Patent &
       Trademark Office Application Number 88694236. See Exhibit B.
   42. Pursuant to the suspension of Plaintiff's Instagram verified account, there has been a
       proliferation of imitation Instagram accounts such as KAKEYOFFICIAL, KAKEY.B.K.A,
       _LICK114YKAKEY._,                     TIARA_KAKEY,                      KAKEY_PRIVATE101,
       LICKMYKAKEZ111113, LICKMYKAKEZ123. See Exhibit C. Some of these accounts
       use Plaintiff's name Tiara in their profile to increase the likelihood of confusion of consuiners.
    43. Facebook/Instagram's use of a confusingly similar imitation of KAKEYTAUGHTME mark
       is likely to cause confusion, deception, and mistake by creating the false and misleading
       impression that Facebook's goods and services are manufactured or distributed by Plaintiff,
       or are associated or connected with Plaintiff, or have the sponsorship, endorsement, or
       approval of Plaintiff.
    44. Facebook/Instagram's use of confusingly similar mark to Plaintiff's federally registered marks
       in violation of 15 U.S.C. 5 1114. Facebook's activities are causing and, unless enjoined by this
       Court, will continue to cause a likelihood of confusion and deception of inembers of the trade
       and public, and, additionally, injury to Plaintiff's goodwill and reputation as symbolized by
        KAKEYTAUGHTME mark, for which Plaintiff has no adequate remedy at law.
    45. Facebook/Instagram's actions demonstrate an intentional, willful, and malicious intent to
        trade on the goodwill associated with Plaintiff's KAKEYTAUGHTME mark to PlaintifFs
       great and irreparable harm.
    46. Facebook/Instagram's caused and is likely to continue causing substantial injury to the public
       and to Plaintiff, and Plaintiff is entitled to injunctive relief and to recover Facebook's profits,

 COMPLAINT                                 Page 7 of 12                                          Case #.:
    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 10 of 46




    actual damages, enhanced profits and damages, costs, and reasonable attorneys' fees under 15
    U.S.C.§§ 1114, 1116, and 1117.


                                              Count V
                                  Federal Unfair Competition
 47. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 48. Plaintiff operated the Instagram account @LICKIVIYKAKEZ where she was a purveyor of
     fine adult paraphernalia. PlaintifPs Instagram account was a VERIFIED Instagram account
    with over 2.8 million followers. Due to Plaintiff's significant followers, Plaintiff enjoyed a
    substantial revenue of about ten thousand dollars per week from the sales of her inventory.
 49. Plaintiff is the owner of the trademark KAKEYTAUGHTME with United States Patent &
    Trademark Office Application Number 88694236. See Exhibit B.
 50. Pursuant to the suspension of Plaintiff's Instagram verified account, there has been a
    proliferation of imitation Instagram accounts such as KAKEYOFFICIAL, KAKEY.B.K.A,
    _LICKMYKAKEY._,                        TIARA_KAKEY,                       KAKEY_PRIVATE101,
    LICKMYKAKEZ111113, LICKAIYKAKEZ123. See Exhibit C. These accounts also use
     Plaintiff's first name Tiara in the profile to further confuse users.
 51. Facebook/Instagram's has made false representations, false descriptions, and false
     designations of, on, or in connection with its goods in violation of 15 U.S.C. 5 1125(a).
     Facebook/Instagram's activities have caused and, unless enjoined by this Court, will continue
     to cause a likelihood of confusion and deception of inembers of the trade and public, and,
     additionally, injury to Plaintiff's goodwill and reputation as symbolized by Plaintiff's
     K.AKEYTAUGHTME mark, for which Plaintiff has no adequate remedy at law.
 52. Facebook/Instagram's actions demonstrate an intentional, willful, and malicious intent to
     trade on the goodwill associated with Plaintiff s KAKEYTAUGHTME mark to the great and
     irreparable injury of adidas.
 53. Facebook/Instagram's conduct has caused, and is likely to continue causing, substantial injury
     to the public and to Plaintiff. Plaintiff is entitled to injunctive relief and to recover Plaintiff's
     profits, actual damages, enhanced profits and damages, costs, and reasonable attorneys' fees
     under 15 U.S.C. 55 1125(a), 1116, and 1117.




COMPLAINT                                Page 8 of 12                                            Case #.:
   Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 11 of 46




                                            Count VI
                                 Federal Trademark Dilution
 54. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 55. Since January 2020, Plaintiff has exclusively and continuously promoted and used the
     KAKEYTAUGHTME mark both in the United States and throughout the world. The mark
     became a famous and well-known symbol of Plaintiff and Plaintiffs products well before
     Facebook/Instagram began using or offering the infringing marks.
 56. Facebook/Instagram's use of imitation of Plaintiff's marks dilutes and is likely to dilute the
     distinctiveness of Plaintiff's mark, tarnishing and degrading the positive associations and
     prestigious connotations of the mark, and otherwise lessening the capacity of the mark to
     identify and distinguish Plaintiffs goods.
 57. Facebook/Instagram's actions demonstrate an intentional, willful, and malicious intent to
     trade on the goodwill associated with Plaintiff's KAKEYTAUGHTME mark or to cause
     dilution of the mark to the great and irreparable injury of Plaintif£
 58. Facebook/Instagram has caused and will continue to cause irreparable injury to PlaintifPs
    goodwill and business reputations, and dilution of the distinctiveness and value of Plaintiff's
     famous and distinctive KAKEYTAUGHTME mark in violation of 15 U.S.C. § 1125(c).
     Plaintiff therefore is entitled to injunctive relief and to Facebook's profits, actual damages,
     enhanced profits and damages, and reasonable attorneys' fees under 15 U.S.C. 55 1125(c),
    1116, and 1117.


                                           Count VII
                            Unfair and Deceptive Trade Practices
 59. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 60. Facebook/Instagrain has been and is passing off its goods as those of Plaintiff, causing a
    likelihood of confusion or misunderstanding as to the source, sponsorship, or approval of
     Facebook/Instagram goods, causing a likelihood of confusion as to Facebook/Instagram
    affiliation, connection, or association with Plaintiff, and otherwise damaging the public.
 61. Facebook/Instagram conduct constitutes unfair and deceptive acts or practices in the course
    of a business, trade, or commerce in violation of the unfair and deceptive trade practices
    statutes of several states, including Maryland BUS. REG. §§ 1-401 —1-415, California CAL.
    BUS. & PROF. CODE § 17200, et seq. (West 2009); Colorado, COLO. REV. STAT. ANN.

COMPLAINT                               Page 9 of 12                                       Case #.:
   Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 12 of 46




    §§ 6-1-101 to 6-1-115 (West 2009); Delaware, DEL. CODE ANN. tit. 6, §§ 2531 to 2536
    (2009); Georgia, GA. CODE ANN. §§ 10-1-370 to 10-1-375 (2009); Hawaii, HAW. REV.
    STAT. ~~ 481A-1 to 481A-5 (2009); Illinois, ILL. COMP. STAT. ANN. ch. 815, 510/1 to
    510/7 (2009); Maine, ME. REV. STAT. ANN. tit. 10, 55 1211 to 1216 (West 2009);
    Minnesota, MINN. STAT. ANN. 5 325D.43 to .48 (West 2009); Nebraska, NEB. REV.
    STAT. §5 87-301 to 87-306 (2009); New Mexico, N.M. STAT. ANN. 5§ 57-12-1 to 57-12-22
    (Michie 2009); New York, N.Y. GEN. BUS. Law 5 349 (McKinney 2009); Ohio, OHIO
    REV. CODE ANN. 5§ 4165.01 to 4165.04 (Baldwin 2009); and Oklahoma, OKLA. STAT.
     ANN. tit. 78, 5§ 51 to 55 (West 2009).
 62. Facebook/Instagram unauthorized use of a confusingly similar imitation of Plaintiff's
    KAKEYTAUGHTME mark has caused and is likely to cause substantial injury to the public
    and to Plaintiff. Plaintiff, therefore, is entitled to injunctive relief and to recover damages
    and, if appropriate, punitive damages, costs, and reasonable attorneys' fees.


                                          Count VIII
                    Common Law Trademark and Unfair Competition
 63. Plaintiff repeats and incorporates by reference the allegations in the preceding paragraphs.
 64. Facebook/Instagram's acts constitute common law trademark infringement and unfair
    competition, and have created and will continue to create, unless restrained by this Court, a
    likelihood of confusion to the irreparable injury of Plaintiff. Plaintiff has no adequate remedy
    at law for this injury.
 65. On information and belief, Facebook/Instagram acted with full knowledge of Plaintiff's use
    of, and statutory and common law rights to, PlaintifFs KAKEYTAUGHTME mark and
    without regard to the likelihood of confusion of the public created by Facebook/Instagram's
    activities.
 66. Facebook/Instagram's actions demonstrate an intentional, willful, and malicious intent to
    trade on the goodwill associated with Plaintiff's KAKEYTAUGHTME mark to the great and
    irreparable injury of Plaintiff.
 67. As a result of Facebook/Instagram's acts, Plaintiff has been damaged in an amount not yet
    determined or ascertainable. At a minimum, however, Plaintiff is entitled to injunctive relief,
    to an accounting of Facebook/Instagram's profits, damages, and costs. Further, in light of
    the deliberate and malicious use of a confusingly similar imitation of Plaintiff's

COMPLAINT                              Page 10 of 12                                          Case #.:
      Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 13 of 46




       KAKEYTAUGHTME mark, and the need to deter Facebook/Instagram from engaging in
       similar conduct in the future, Plaintiff additionally is entitled to punitive damages.


WHEREFORE, Plaintiff prays that:
   1. Facebook and all of its agents, officers, employees, representatives, successors, assigns,
       attorneys, and all other persons acting for, with, by, through or under authority from
       Facebook, or in concert or participation with Facebook, and each of them, be enjoined from:
           a. Permitting any Instagram user to use any handle or account name that will create a
               likelihood of confusion with Plaintiff's KAKEYTAUGHTME mark.
           b. advertising, marketing, promoting, offering for sale, distributing, or selling goods or
               services using the mark KAKEYTAUGHTME or any other mark that will create a
               likelihood of confusion.
           c. using the KAKEYTAUGHTME mark or any other copy, reproduction, colorable
               imitation, or simulation of PlaintifFs KAKEYTAUGHTME mark on or in connection
               with any goods and services.
           d. using any trademark, account handle, name, logo, design, or source designation of any
               kind on or in connection with any Facebook/Instagram account user's goods that is
               likely to cause confusion, mistake, deception, or public misunderstanding that such
               goods or services are produced or provided by Plaintiff, or are sponsored or authorized
               by adidas, or are in any way connected or related to Plaintiff.
   2. Facebook be compelled to account to Plaintiff for any and all profits derived by
       Facebook/Instagram from the sale of goods or services using marks infringing on Plaintiff's
      mark.
   3. Plaintiff be awarded all damages caused by the acts forming the basis of this Complaint.
   4. Based on Facebook's knowing and intentional use of a confusingly similar imitation of the
      Plaintiff's KAKEYTAUGHTME mark, the damages awarded be trebled and the award of
      Facebook's profits be enhanced as provided for by 15 U.S.C. 5 1117(a).
   5. Facebook/Instagram be tequired to pay to Plaintiff the costs and reasonable attorneys' fees
      incurred by Plaintiff in this action pursuant to 15 U.S.C. 5 1117(a) and the state statutes cited
      in this Complaint.




COMPLAINT                                 Page 11 of 12                                         Case #.:
    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 14 of 46




 6. Based on Facebook/Instagram's willful and deliberate infringement and/or dilution of the
    Plaintiff's mark, and to deter such conduct in the future, Plaintiff be awarded punitive
    damages.
 7. Plaintiff be awarded prejudgment and post-judgment interest on all monetary awards; and
 8. Plaintiff be granted such other and further relief as the Court may deem just.




                                                Respectfully submitted,




                                                Jimi Kolawole, Esq. CPF# 1512160013
                                                Kolawole Law Firm LLC
                                                7517 Cedar Grove Lane,
                                                Elkridge, MD. 21075
                                                443 546 8146 1 oakolawole@justklf.com
                                                Fax: 240 713 3242




COMPLAINT                             Page 12 of 12                                     Case #.:
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 15 of 46
11/28/21, 10:06 AM                                Terms of Use I Instagran1 Help Center
            PlaintifF Exhiblt A
      ®4     Help Center




    Terms of Use
           Copy Link



    Welcome to Instagram!

    These Terms of Use (or "Terms") govern your use of Instagram, except where we expressly
    state that separate terms (and not these) apply, and provide information about the Instagram
    Service (the "Service"), outlined below. When you create an Instagram account or use
    Instagram, you agree to these terms. The Facebook Terms of Service do not apply to this
    Service.

    The Instagram Service is one of the Facebook Products, provided to you by Facebook, Inc.
    These Terms of Use therefore constitute an agreement between you and Facebook, Inc.

    ARBITRATION NOTICE: YOU AGREE THAT DISPUTES BETWEEN YOU AND US WILL BE
    RESOLVED BY BINDING, INDIVIDUAL ARBITRATION AND YOU WAIVE YOUR RIGHT TO
    PARTICIPATE IN A CLASS ACTION LAWSUIT OR CLASS-WIDE ARBITRATION. WE EXPLAIN
    SOME EXCEPTIONS AND HOW YOU CAN OPT OUT OF ARBITRATION BELOW.




    The Instagram Service

    We agree to provide you with the Instagram Service. The Service includes all of the Instagram
    products, features, applications, services, technologies, and software that we provide to
    advance Instagram's mission: To bring you closer to the people and things you love. The
    Service is made up of the following aspects:

           Offering personalized opportunities to create, connect, communicate, discover,
           and share.
           People are different. We want to strengthen your relationships through shared
           experiences you actually care about. So we build systems that try to understand who
           and what you and others care about, and use that information to help you create,
           find, join, and share in experiences that matter to you. Part of that is highlighting
           content, features, offers, and accounts you might be interested in, and offering ways
           for you to experience Instagram, based on things you and others do on and off
           Instagram.

           Fostering a positive, inclusive, and safe environment.
           We develop and use tools and offer resources to our community members that help
           to make their experiences positive and inclusive; including when we think they might
https://help.instagram.com/581066165581870                                                          1/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 16 of 46
11/28/21, 10:06 AM                                            Terms of Use I Instagram Help Center
           Plaintiff Exhibit A
     ®~      Help Center
           -•-- -... ---- -----•-••-•-•--• -•- ----._ ..._._-----✓ ~-_. ...--------•-••      -- --~ -- •---r   ---
           platform secure. We also may share information about misuse or harmful content
           with other Facebook Companies or law enforcement. Learn more in the Data P®licy.

           Developing and using technologies that help us consistently serve our growing
           community.
           Organizing and analyzing information for our growing community is central to our
           Service. A big part of our Service is creating and using cutting-edge technologies
           that help us personalize, protect, and improve our Service on an incredibly large scale
           for a broad global community. Technologies like artificial intelligence and machine
           learning give us the power to apply complex processes across our Service.
           Automated technologies also help us ensure the functionality and integrity of our
           Service.

           Providing consistent and seamless experiences across other Facebook Company
           Products.
           Instagram is part of the Facebook Companies, which share technology, systems,
           insights, and information-including the information we have about you (learn more
           in the Data Policy) in order to provide services that are better, safer, and more
           secure. We also provide ways to interact across the Facebook Company Products that
           you use, and designed systems to achieve a seamless and consistent experience
           across the Facebook Company Products.

       •   Ensuring access to our Service.
           To operate our global Service, we must store and transfer data across our systems
           around the world, including outside of your country of residence. The use of this
           global infrastructure is necessary and essential to provide our Service. This
           infrastructure may be owned or operated by Facebook Inc., Facebook Ireland Limited,
           or their affiliates.

           Connecting you with brands, products, and services in ways you care about.
           We use data from Instagram and other Facebook Company Products, as well as from
           third-party partners, to show you ads, offers, and other sponsored content that we
           believe will be meaningful to you. And we try to make that content as relevant as all
           your other experiences on Instagram.

           6tesearch and innovation.
           We use the information we have to study our Service and collaborate with others on
           research to make our Service better and contribute to the well-being of our
           community.




    Hovv Our Service Is Funded

    Instead of paying to use Instagram, by using the Service covered by these Terms, you
    acknowledge that we can show you ads that businesses and organizations pay us to promote

https://help.instagram.com/581066165581870                                                                           2/11
                Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 17 of 46
11/28/21, 10:06 AM                         Terms of Use I Instagram Help Center
           Plaintiff Exhibit A

   (VOT      Help Center

    We show you relevant and useful ads without telling advertisers who you are. We don't sell
    your personal data. We allow advertisers to tell us things like their business goal and the kind
    of audience they want to see their ads. We then show their ad to people who might be
    interested.

    We also provide advertisers with reports about the performance of their ads to help them
    understand how people are interacting with their content on and off Instagram. For example,
    we provide general demographic and interest information to advertisers to help them better
    understand their audience. We don't share information that directly identifies you
    (information such as your name or email address that by itself can be used to contact you or
    identifies who you are) unless you give us specific permission. Learn more about how
    Instagram ads work here.

    You may see branded content on Instagram posted by account holders who promote
    products or services based on a commercial relationship with the business partner
    mentioned in their content. You can learn more about this here.




    The Data Policy
    Providing our Service requires collecting and using your information. The Data Poiicy
    explains how we collect, use, and share information across the Facebook Products. It also
    explains the many ways you can control your information, including in the Instagram Privacy
    and Security Settings. You must agree to the Data Policy to use Instagram.




    Your Commitments
    In return for our commitment to provide the Service, we require you to make the below
    commitments to us.

    Who Can Use Instagrarn. We want our Service to be as open and inclusive as possible, but
    we also want it to be safe, secure, and in accordance with the law. So, we need you to
    commit to a few restrictions in order to be part of the Instagram community.

       •   You must be at least 13 years old.

      •    You must not be prohibited from receiving any aspect of our Service under
           applicable laws or engaging in payments related Services if you are on an applicable
           denied party listing.

      •    We must not have previously disabled your account for violation of law or any of our
           policies.

      •    You must not be a convicted sex offender.


https://help.instagram.com/581066165581870                                                             3/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 18 of 46
11/28/21, 10:06 AM                                Terms of Use I Instagram Help Center
           Plaintiff Exhibit A
     ®~      Help Center

          You can't impersonate others or provide inaccurate information.
          You don't have to disclose your identity on Instagram, but you must provide us with
          accurate and up to date information (including registration information), which may
          include providing personal data. Also, you may not impersonate someone or
          something you aren't, and you can't create an account for someone else unless you
          have their express permission.

          You can't do anything unlawful, misleading, or fraudulent or for an illegal or
          unauthorized purpose.

          You can't violate (or help or encourage others to violate) these Terms or our
          policies, including in particular the Instagram Community Guidelines, Facebook
          Platform Terms and ®eveloper P®licies, and Music Guidelines.
          If you post branded content, you must comply with our Branded Content Policies,
          which require you to use our branded content tool. Learn how to report conduct or
          content in our Help Center.

          You can't do anything to interfere with or impair the intended operation of the
          Service.
          This includes misusing any reporting, dispute, or appeals channel, such as by making
          fraudulent or groundless reports or appeals.

          You can't attempt to create accounts or access or collect information in
          unauthorized ways.
          This includes creating accounts or collecting information in an automated way
          without our express permission.

      •   You can't sell, license, or purchase any account or data obtained from us or our
          Service.
          This includes attempts to buy, sell, or transfer any aspect of your account (including
          your username); solicit, collect, or use login credentials or badges of other users; or
          request or collect Instagram usernames, passwords, or misappropriate access tokens.

      •   You can't post someone else's private or confidential information without
          permission or do anything that violates someone else's rights, including
          intellectual property rights (e.g., copyright infringement, trademark infringement,
          counterfeit, or pirated goods).
          You may use someone else's works under exceptions or limitations to copyright and
          related rights under applicable law. You represent you own or have obtained all
          necessary rights to the content you post or share. Learn more, including how to
          report content that you think infringes your intellectual property rights, here.

      •   You can't modify, translate, create derivative works of, or reverse engineer our
          products or their components.

          You can't use a domain name or URL in your username without our prior written
          consent.

https://help.instagram.com/581066165581870                                                          4/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 19 of 46
11/28/21, 10:06 AM                                 Terms of Use I Instagram Help Center
            PGBintiff Exhibit A
     ®~      Help Center

           We do not claim ownership of your content, but you grant us a license to use it.
           Nothing is changing about your rights in your content. We do not claim ownership of
           your content that you post on or through the Service and you are free to share your
           content with anyone else, wherever you want. However, we need certain legal
           permissions from you (known as a"license") to provide the Service. When you share,
           post, or upload content that is covered by intellectual property rights (like photos or
           videos) on or in connection with our Service, you hereby grant to us a non-exclusive,
           royalty-free, transferable, sub-licensable, worldwide license to host, use, distribute,
           modify, run, copy, publicly perform or display, translate, and create derivative works
           of your content (consistent with your privacy and application settings). This license
           will end when your content is deleted from our systems. You can delete content
           individually or all at once by deleting your account. To learn more about how we use
           information, and how to control or delete your content, review the ®ata Policy and
           visit the Instagram Help Center.

           Permission to use your username, profile picture, and information about your
           relationships and actions with accounts, ads, and sponsored content.
           You give us permission to show your username, profile picture, and information
           about your actions (such as likes) or relationships (such as follows) next to or in
           connection with accounts, ads, offers, and other sponsored content that you follow
           or engage with that are displayed on Facebook Products, without any compensation
           to you. For example, we may show that you liked a sponsored post created by a
           brand that has paid us to display its ads on Instagram. As with actions on other
           content and follows of other accounts, actions on sponsored content and follows of
           sponsored accounts can be seen only by people who have permission to see that
           content or follow. We will also respect your ad settings. You can learn more here
           about your ad settings.

       •   You agree that we can download and install updates to the Service on your device.




    Additional Rights We Retain
           If you select a username or similar identifier for your account, we may change it if we
           believe it is appropriate or necessary (for example, if it infringes someone's
           intellectual property or impersonates another user).

           If you use content covered by intellectual property rights that we have and make
           available in our Service (for example, images, designs, videos, or sounds we provide
           that you add to content you create or share), we retain all rights to our content (but
           not yours).

           You can only use our intellectual property and trademarks or similar marks as
           expressly permitted by our Brand Guidelines or with our prior written permission.


https://help.instagram.com/581066165581870                                                           5/11
                         Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 20 of 46
11/28/21, 10:06 AM                                         Terms of Use I Instagram Help Center
            Plaintiff Exhibit A
      ®~         Help Center




    Content Removal and Disabling or Terminating 1(our Account

           We can remove any content or information you share on the Service if we believe
           that it violates these Terms of Use, our policies (including our Instagram Community
           Guidelines), or we are permitted or required to do so by law. We can refuse to
           provide or stop providing all or part of the Service to you (including terminating or
           disabling your access to the Facebook Products and Facebook Company Products)
           immediately to protect our community or services, or if you create risk or legal
           exposure for us, violate these Terms of Use or our policies (including our Instagram
           Community Guidelines), if you repeatedly infringe other people's intellectual
           property rights, or where we are permitted or required to do so by law. We can also
           terminate or change the Service, remove or block content or information shared on
           our Service, or stop providing all or part of the Service if we determine that doing so
           is reasonably necessary to avoid or mitigate adverse legal or regulatory impacts on
           us. If you believe your account has been terminated in error, or you want to disable
           or permanently delete your account, consult our Help Center. When you request to
           delete content or your account, the deletion process will automatically begin no
           more than 30 days after your request. It may take up to 90 days to delete content
           after the deletion process begins. While the deletion process for such content is
           being undertaken, the content is no longer visible to other users, but remains subject
           to these Terms of Use and our Data Policy. After the content is deleted, it may take us
           up to another 90 days to remove it from backups and disaster recovery systems.

       •   Content will not be deleted within 90 days of the account deletion or content
           deletion process beginning in the following situations:

             •     where your content has been used by others in accordance with this license
                   and they have not deleted it (in which case this (icense will continue to apply
                   until that content is deleted); or

                   where deletion within 90 days is not possible due to technical limitations of
                   our systems, in which case, we will complete the deletion as soon as
                   technically feasible; or

             •     where deletion would restrict our ability to:

                          investigate or identify illegal activity or violations of our terms and
                          policies (for example, to identify or investigate misuse of our
                          products or systems);

                     •    protect the safety and security of our products, systems, and users;

                     •    comply with a legal obligation, such as the preservation of evidence;
                          or
https://help.instagram.com/581066165581870                                                           6/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 21 of 46
11/28/21, 10:06 AM                                   Terms of Use I Instagram Help Center
           f'laintiff Exhibit A
     ®~      Help Center

             •   in which case, the content will be retained for no longer than is necessary for
                 the purposes for which it has been retained (the exact duration will vary on a
                 case-by-case basis).

       •   If you delete or we disable your account, these Terms shall terminate as an
           agreement between you and us, but this section and the section below called "Our
           Agreement and What Happens if We Disagree" will still apply even after your account
           is terminated, disabled, or deleted.




    Our Agreement and What Happens if We Disagree

    Our Agreement.

      •    Your use of music on the Service is also subject to our Music Guidelines, and your use
           of our API is subject to our Facebook Platform Terms and Developer Policies. If you
           use certain other features or related services, you will be provided with an
           opportunity to agree to additional terms that will also become a part of our
           agreement. For example, if you use payment features, you will be asked to agree to
           the Community Payment Terms. If any of those terms conflict with this agreement,
           those other terms will govern.

       •   If any aspect of this agreement is unenforceable, the rest will remain in effect.

       •   Any amendment or waiver to our agreement must be in writing and signed by us. If
           we fail to enforce any aspect of this agreement, it will not be a waiver.

       •   We reserve all rights not expressly granted to you.

    Who Has Rights Under this Agreement.

       •   Our past, present, and future affiliates and agents, including Instagram LLC, can
           invoke our rights under this agreement in the event they become involved in a
           dispute. Otherwise, this agreement does not give rights to any third parties.

       •   You cannot transfer your rights or obligations under this agreement without our
           consent.

       •   Our rights and obligations can be assigned to others. For example, this could occur if
           our ownership changes (as in a merger, acquisition, or sale of assets) or by law.

    Who Is Responsible if Something Happens.

       •   Our Service is provided "as is," and we can't guarantee it will be safe and secure or
           will work perfectly all the time. TO THE EXTENT PERMITTED BY LAW, WE ALSO
           DISCLAIM ALL WARRANTIES, WHETHER EXPRESS OR IMPLIED, INCLUDING THE

https://help.instagram.com/581066165581870                                                          7/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 22 of 46
11/28/21, 10:06 AM                                              I
                                                    Terms of Use Instagram Help Center
            Plaintiff Exhibit /a

   9          Help Center

       •   We also don't control what people and others do or say, and we aren't responsible
           for their (or your) actions or conduct (whether online or offline) or content (including
           unlawful or objectionable content). We also aren't responsible for services and
           features offered by other people or companies, even if you access them through our
           Service.

       •   Our responsibility for anything that happens on the Service (also called "liability") is
           limited as much as the law will allow. If there is an issue with our Service, we can't
           know what all the possible impacts might be. You agree that we won't be responsible
           ("liable") for any lost profits, revenues, information, or data, or consequential, special,
           indirect, exemplary, punitive, or incidental damages arising out of or related to these
           Terms, even if we know they are possible. This includes when we delete your content,
           information, or account. Our aggregate liability arising out of or relating to these
           Terms will not exceed the greater of $100 or the amount you have paid us in the past
           twelve months.

       •   You agree to defend (at our request), indemnify and hold us harmless from and
           against any claims, liabilities, damages, losses, and expenses, including without
           limitation, reasonable attorney's fees and costs, arising out of or in any way
           connected with these Terms or your use of the Service. You will cooperate as required
           by us in the defense of any claim. We reserve the right to assume the exclusive
           defense and control of any matter subject to indemnification by you, and you will not
           in any event settle any claim without our prior written consent.

    How We Will Handle Disputes.

       •   Except as provided below, you and we agree that any cause of action, legal claim,
           or dispute between you and us arising out of or related to these Terms or
           Instagram ("claim(s)") must be resolved by arbitration on an individual basis. Class
           actions and class arbitrations are not permitted; you and we may bring a claim only
           on your own behalf and cannot seek relief that would affect other Instagram users. If
           there is a final judicial determination that any particular claim (or a request for
           particular relief) cannot be arbitrated in accordance with this provision's limitations,
           then only that claim (or only that request for relief) may be brought in court. AII other
           claims (or requests for relief) remain subject to this provision.

       •   Instead of using arbitration, you or we can bring claims in your local "small claims"
           court, if the rules of that court will allow it. If you don't bring your claims in small
           claims court (or if you or we appeal a small claims court judgment to a court of
           general jurisdiction), then the claims must be resolved by binding, individual
           arbitration. The American Arbitration Association will administer all arbitrations under
           its Consumer Arbitration Rules. You and we expressly waive a trial by.       jury.

           The following claims don't have to be arbitrated and may be brought in court:
           disputes related to intellectual property (like copyrights and trademarks), violations
           of our Platform Policy, or efforts to interfere with the Service or engage with the
           Service in unauthorized ways (for example, automated ways). In addition, issues
https://help.instagram.com/581066165581870                                                               8111
                  Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 23 of 46
11/28/21, 10:06 AM                           Terms of Use I Instagram Help Center
            Plain$iff Exhibit A
      ®~     Help Center

           This arbitration provision is governed by the Federal Arbitration Act.

           You can opt out of this provision within 30 days of the date that you agreed to these
           Terms. To opt out, you must send your name, residence address, username, email
           address or phone number you use for your Instagram account, and a clear statement
           that you want to opt out of this arbitration agreement, and you must send them
           here: Facebook, Inc. ATTN: Instagram Arbitration Opt-out, 1601 Willow Rd., Menlo
           Park, CA 94025.

       •   Before you commence arbitration of a claim, you must provide us with a written
           Notice of Dispute that includes your name, residence address, username, email
           address or phone number you use for your Instagram account, a detailed description
           of the dispute, and the relief you seek. Any Notice of Dispute you send to us should
           be mailed to Facebook, Inc., ATTN: Instagram Arbitration Filing, 1601 Willow Rd.
           Menlo Park, CA 94025. Before we commence arbitration, we will send you a Notice of
           Dispute to the email address you use with your Instagram account, or other
           appropriate means. If we are unable to resolve a dispute within thirty (30) days after
           the Notice of Dispute is received, you or we may commence arbitration.

       •   We will pay all arbitration filing fees, administration and hearing costs, and arbitrator
           fees for any arbitration we bring or if your claims seek less than $75,000 and you
           timely provided us with a Notice of Dispute. For all other claims, the costs and fees of
           arbitration shall be allocated in accordance with the arbitration provider's rules,
           including rules regarding frivolous or improper claims.

       •   For any claim that is not arbitrated or resolved in small claims court, you agree that it
           will be resolved exclusively in the U.S. District Court for the Northern District of
           California or a state court located in San Mateo County. You also agree to submit to
           the personal jurisdiction of either of these courts for the purpose of litigating any
           such claim.

       •   The laws of the State of California, to the extent not preempted by or inconsistent
           with federal law, will govern these Terms and any claim, without regard to conflict of
           law provisions.

    Unsolicited Material.

    We always appreciate feedback or other suggestions, but may use them without any
    restrictions or obligation to compensate you for them, and are under no obligation to keep
    them confidential.




    Updating These Terms

    We may change our Service and policies, and we may need to make changes to these Terms
    so that they accurately reflect our Service and policies. Unless otherwise required by law, we
    will notify you (for example, through our Service) before we make changes to these Terms
https://help.instagram.com/581066165581870                                                             9/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 24 of 46
11/28/21, 10:06 AM                                          Terms of Use Instagram Help Center
            Plaintiff Q=xhibit A
      ®~      Help Center
     ------ -- ----~ --~--------- -------, ~ --- -_.. ------- . --- ------...-, ------



     Revised: December 20, 2020




       Was this helpful?                                                                         ~

                                       Yes




                     Related A►rticles

           Instagram Badges Purchase Terms


           What can I do if my Instagram account has been disabled?

           How can I make sure the content I post to Instagram doesn't violate
           trademark law?

           How can I get an image of my child removed from Instagram?

           How can I make sure the content I post to Instagram doesn't violate copyright
           law?

           Why can't I search for certain hashtags on Instagram?




    © 2021 Meta




          EngEish (l1S)


    About Us

    API

    Jobs

https://help.instagram.com/581066165581870                                                           10/11
                     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 25 of 46
11/28/21, 10:06 AM                               Terms of Use I Instagram Help Center
            Plalntlff Exhiblt A
      ®~        Help Center
     - -----~


      from ~~ ~~~q




https://help.instagram.com/581066165581870                                              11/11
                        Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 26 of 46
11/28/21, 1:50 PM                                                 Trademark Electrontc Search System (TESS)


                  United States I'atent and Tradernark Office

                  Homel Site Index I Search I FAQ I GlossaryI Contacts I eBusiness I eBiz alerts I fdews

   Tradernarks > Trademark Electr0nac Search System (TESS)

 TESS was last updated on Sun Nov 28 03:32:21 EST 2021



  Logout Please logout when you are done to release system resources allocated for you.

Recorcl 1 out of 1

          e   ~                                           ( Use the 'Back' butt®uu ®f the 6nterraet Br®wser go return tm
 TESS)




 Word Mark I(AF(EYTAUGHTME
 Goods and IC 041. US 100 101 107. G& S: Entertainment services, namely, conducting parties for the purpose of dating and
 Services  social introduction for adults. FIRST USE: 20181025. FIRST USE IN COMMERCE: 20200102
 Mark
 Drawing           (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Code
 Design            01.15.25 - Coal ; Dust ; Light rays ; Liquids, spilling ; Pouring liquids ; Sand ; Spilling liquids
 Search            02.11.04 - Human lips or mouths
 Code              02.11.25 - Blood vessels, human ; Brain, human ; Buttocks, human ; Human, other parts of the body ; Intestines,
                   human ; Lungs, human ; Nerves, human ; Nose, human ; Spine, human ; Tongue, human
 Serial
                   88694236
 Number
 Filing Date November 15, 2019
 Current
                   1B
 Basis
 Original
 Filing            1B
 Basis
 Published
 for        November 24, 2020
 Opposition
 Owner       (APPLICANT) Welch, Tiara AKA Kakey INDIVIDUAL UNITED STATES Ste. 209 110 Painters Mill Road Owings Mills
             MARYLAND 21117
 Description The colors dark pink, pink, light pink, purple, dark purple, black, white and gray is/are claimed as a feature of the
 of Mark     mark. The mark consists of the design of an open female mouth outlined in black with purple and dark purple lips
             having pink, light pink, dark pink and white shading and white teeth; a large dark pink and pink tongue outlined in
             black having light pink, white and gray shading protrudes from the mouth; stray black dots appear on the tongue and
             a black curved line appears down the middle of the tongue; white saliva outlined in black with gray shading drips
             down and off of the protruding tongue; the wording "KakeyTaughtMe" appears in black and outlined with a light pink
             hue below the dripping saliva.
 Type of
             SERVICE MARK
 Mark

https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4808:43277h.2.1                                                                 1/2
                    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 27 of 46
11/28/21, 1:50 PM                                                 Trademark Electronic Search System (TESS)

 Register       PRINCIPAL
 Other Data The name "KAKEY" identifies Tiara Welch, a living individual whose consent is of record.
 Live/Dead
                LIVE
 Indicator


T'ESS HOME    NE4Y3JSER   MUC'fURED FRE['FORM aNOWs1_uier SEARCH OG              Tar+    I   HELP



                                          I.HOME I SITE INDEXI SEARCH I eBUSINESS I HELP I PRIVACY POLICY




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4808:43277h.2.1                                          2/2
                 Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 28 of 46
           Plaintiff. Exhibit C                                        Johnson v. Facebook Inc,

JIMI KOLAWOLE

From:                    Tiara Newman Johnson <tnewmanj22@gmail.com>
Sent:                    Thursday, November 18, 2021 3:29 PM
To:                      JIMI KOLAWOLE
Subject:                 These are the Pages that are NOT ME




     3:22 7                                    .    ^    0 _


 ~                   kakeyofficiaf



     AA                  95
                        Posts
                                     1,466
                                   Fo91owers
                                                    92
                                               Follov:ing
      s.

  shopping & Retail
  LICK?otYKAKEY ("'
                 -`,-r if you NASTY 14J
  OnfyFans tlovefias)~',
  D?J for my private videos     _ my websites are for
  adults onll!

                                          Message




     ~
     GLar,1      LICK




                                                               I
               Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 29 of 46
          P9aintiff. Exhibit C                           .9ohnson v. Facobook 9nc.
    3:23 4


~                     kakey.b.k.a                    •••




                        12          47           6
                       Fasts     Followers   Fotl©vling
               f


    B.iC.A Kakey
    Let's Filp Your Cesh Bigger Novi Pm Cashapp rl   F~'
    BK UP PAGE
onlyfans.com/Vickyaisha

■              •         I       Message             ~




                                                           2
                      Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 30 of 46
                Plaintuff. Exhibit C                                         Johnson v. Facebook Inc.
        3:22 9


    <                             lickmykakey._                      •



                                    10            71          31
            ~                      Fosts       FoJlowers   FoAov.ing
        i

    KAKEY
    iJain nage @linkrny}:3kez CLICY. 7HE LINK BELOW[
    gniyfans.comjkakeyuncut
    Follorred by youdonr.vantnosmokcbbq,
    leshellv:allace and 14E othcrs

                                               A4cssac3e         ~


                  ®                                   ~
                                      _V                   W ,
        ~. .                  .

.
                                    l k

                              - -
                                          ~-




                                                                 ~

                                                           ~
                  o         R-1                        ~

                ~ '~  r,~
                                          L




                                                                         3
                 Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 31 of 46
        P9aintiff. Exhibit C                                 Johnson v. Facebook 9nc.
    3:23 4

<                  tiara_kakey                     ...



                     13        1,525          73
                    Posts     Followers     Following


tiara kakey
Snapehal: Realkake .....booking;
ktrnbusiness'12ttig ait.corn                1ONlY
   ti+E ONE BA ` P P.AGE AND THAS
~lickrny v ez2!!!]!!? B[tA'ARE OF FAKE ACCOUNTS!

                              P.Aessage



             ®                       :~-1




                                                         4
                       Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 32 of 46
        6'laintiff. Exhibit C                                          Johnson v. Facebook Gnc.
    3=23                                           .   o—
                                                        ~,    0:


~                      kakey_private101                      •••



                              10         532           275
{                  t      posts        Followers   Following


Tiara kakey
THIS IS Iv1Y       AC .flU(vT. . I h3✓B a sl)ecial
   as packa           y f ans and it's limited. l~Iso
you can ~ iest
             : to be added to my snapchat
prcrnium
sexyladiesrnagazine.com/lickrnykakez-downloadabl...

                                   Message                   ~



               ®                               a




           ~              5        ~




    ,~►~~I~Irr~>tt~ir~~'-;~~ -~rlr:i; ' ~


                                                         ~

                                                         di; %6




                                                                   5
                    Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 33 of 46
            Plaintiff. Exhibit C                                 Johnson v. Facebook Inc.
    3:241

~                   lickmykakez111113



                             9      1068          145
                         F`osts    Followers    Follovring
    1



Tiara C`;M:formerly known As k,4    Y
FdRP:fER Adult Star Kaker
htarried To @geargegambin®o .10.20
   lavr rny Tvditter-REALL+ ..i'Y... rrora

        ~         • n~   ~         P:lessage          ~



              ®                           l~l




                                                             6
             Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 34 of 46
        Plaintiff. Exhibit C                           Johnson v. Facebook Inc.
    3=24

~                fickmykakez123                   -••



                       3         205           92
                     Posts     Followers   Follovring


kimberly williarns
FURFAER ftciull Slar Kakey ! my ONLY Backup paye
/@okakeysbackup !
grnail.com

                               Message            ~




    KAKEY    Highlights


       ®                  (>               ~~~,




                                                   c




                                                        7
                  Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 35 of 46
             Plainfiff. Exhibit C                             Johnson v. Faceboolc Inc.
    3=24


<                    lic.kmykakez                   •••



         -             11         280           0
                      Fosts     Followers   Following


 Tiarar.l.fronnarlyknotisn s kakev ©ni fro frcaky
 service purchase       O LY OTHER PAGE IS...ctiore
_oily fans.comJkakP - . 1cui

                                fvlessage           ~



         .::                ~




    Ga          4        ~           ~          ~




                                                          8
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 36 of 46
P9aintiff. Exhibit C                                              Johnson   v. i°acebook Inc.
                          nI V   I 1 a a I y   ■ \%We   ■ \   V    ii ■ - w /




                          lick.myka kezfa npage




                          lickmykakez02




                          lickmykakez69




                          lickmykakez investment
      Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 37 of 46
Plaintiff. Exhibit C                                         Johnson v. Facebook Inc.

      ~
       4      N
                                  fickmykakez123
               ~
 ~                                                      vv      ac~~~ ~

                                                      b y 11.1— a c e w/ 5 8 9 5




                                  lic.kmykakez
  `
                              1




           ._ d        _-_
               _   ~




                                  fickmykakez111113




                                  lick.mykakez



               -~- ---_.~.~
                                  1   .A,..    .1_A
                                          10
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 38 of 46
Plaintiff. Exhibit C                                                          Johnson v. Facebook Inc.



                             IlCkmykakeZ038
                                            /     r         ~ r ~ ~.   ~

                                                  4F~ ~ ~i ~" ~`j j(r e f U ti9




                             fickmy.kakez2021
                        i1
                       ,,~   ~ o ~:~ ~ ~              ~^~~ ~~ u? ~ ~ G~~ e         z




                             fickmykakez211
                                                                                                                                                 ~.~~
                                                                                       (,~ '4 6
                                                                                        ,     p
                                                                                                           '       ~ff   ~' I' 'y    ~~n   ffp
                                                                                                                   ll~l'.. Y~J '+~ t~J Ptj~^
                                                                                                                     ,
                                                                                          `.~..+ C'       ~~
                                                               ~..+




                             lickmykakez22
                                   r.,                            !
                                   ,~           '~ ,"ti j ~~   ~ a    '~ ~~   {    r   y~~I' ~~ Dj        ~~ ~           ~~ ~~
                             ~
                             .   a ~'a.~~   ~i.'~,.~ ~         .u~ 4da        Ra   1.E'      ia~      !
                                                                                                      J        ~          ~J        ~f




                                                       11
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 39 of 46
Plainteff. ExhibAt C                                               Johnson v. Facebook Inc,


                                    babekakey
   ,~ •                         ~
                                    Ka key B




                                    lick.makakez
                                        I ia ra k1'a 1~ey



                         ~
                                    kakey6969
                                    ~ ~~~ ~~"~~~
                                    i~ 4 ~~~       ~. ~v
                                                           _

     t               ~
         •




                                    kakey.2
                                               ~
                                               ~    rA y       y




             r!Y"'

                                    officialrealkakey
                         :~..       a   ._a._..
                                             12
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 40 of 46
Plaintiff. Exhibit C                                  Johnson v. Facebook Inc,

                           lickmykake.z
                           li~,~kmy,Kakez




                           fickmykakez16
                          ~' c k.- m~~~~a~~e 7




                           lickmykakez029
                          LeC. k my k a ke z 0 2




                           fickmykakez7
                           I~~c~s   m 'y'' ~,,/.Ia i(e z



                           fickmykakez147
                                      13
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 41 of 46
Plalntiff. Exhibit C                                                         Johnson v. Facebook Inc.




                          b.k.kakey
                                                    %              ,t'~
                                                   r "
                                                                  ~ ~'.. .




                          kakeyofficialfanpage
                              ~       r ~, ";~     ,,~_          ,<•




                           rea1. ka key




                                      rea I ka key
                          ®

                                  .   r   ir   l         y
                                                             ]

                                                     ✓




                          L/ /% 10 /11/ ~% 1/ ^
                                                    14
     Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 42 of 46
                              ..    •     R    L



Plaintiff. Exhibit C                            Johnson v. Facebook Inc.


                          lickmykakezofficial_
                          Kakez Lick




                          lickmykakez86
                          lickmykakez




                          lickmykakez8
                          Lickmykakez




                          lickmykakezz
 . ---                    Fan Page




                          Iickmykakez101
                                   15
             Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 43 of 46
       F'lainfiiff. Exhibit C                           Johnson v, Facebook Inc.

Sent from my iPhone




                                           16
        Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 44 of 46
Plainfiff. Exhibit ®                                                          Johnson v. Facebook Inc.



)ohn lloe lntorming Ylalntltt ot how her lnstag              Account was taken down
     5:10                                      ..   ^ ~~~.     5:10                                    .... = (wG,


   <®                                                         <®                   ~                         CDI
                                                                              Maybe: Brandon OBN
                   Maybe: Brandon OBN .

                                                               My homie banned you bro but
                     Fri, Jul 9, 12:2e Pf-4                    he didn't know I was cool with
                                                               jimmy or nun of that
    So I found out
                                                               He got paid tho
    Something

    You where not violations terms                                                                      L
                                                                                                        W        ,
    or nothing of that                                                                           . .   ..   ..

    You where banned                                           Well ima try and bring you
                                                               back but it isn't fast like that

                                                                              Sat, Jul 10, 12:0o PM


    My homie banned you bro but
    he didn't know I was cool with
    jimmy or nun of that

    He got paid tho


                                                ®                             Sal, Jul 10, 4:4P. PM


                                                               He doesn't do it he uses a
                                         . what .. ..          inside important agent inside
                                                               of Instagram but he already
    Well ima try and bring you                                 submitted it bro
    back but it isn't fast like that
                                                              ,os     ce-D)
                   Sat, Jul 10, 12:06 P:~                                                                    'wri

                                                              '~ ®(D 4t~~~Z
                                        ~     (o 01)
                                . • • ,
        Case 1:22-cv-00033-RDB Document 1-2 i Filed 01/06/22
                                                    ,        Page 45 of 46
Plaintiff. Exhibit D                                            Johnson v. Facebook Inc.


Plaintiff being informed that someone paid for her Instagram account




                                  ,



                           Obn brandon ® :



     I was paid $3000 by this girl to
     take down her page bro I didn't
     know you knew her




     I banned her account using
     verified accounts. She has to
     pay 2500 to get it back
     through a Facebook rep I got




   1«                                                         ~,~
Case 1:22-cv-00033-RDB Document 1-2 Filed 01/06/22 Page 46 of 46
